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10
                             UNITED STATES DISTRICT COURT
11
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
                                   SOUTHERN DIVISION
13
     UNITED STATES OF AMERICA,                   SA CR 15-063(B)-JLS
14
               Plaintiff,                        JOINT REPORT RE: STATUS OF EFFORTS
15                                               TO REACH STIPULATED PROTECTIVE
                     v.                          ORDER IN RESPONSE TO THE COURT’S
16                                               NOVEMBER 24, 2015 DISCOVERY ORDER;
     TODD CHRISTIAN HARTMAN,                     EXHIBITS
17
               Defendant.
18

19        Plaintiff, the United States of America, through its counsel of
20   record Assistant United States Attorneys Anne C. Gannon and Sandy N.
21   Leal, and defendant Todd Christian Hartman (“defendant”), by and
22   through his counsel of record, Deputy Federal Public Defenders
23   Cuauhtemoc Ortega and Andrea Jacobs, hereby submit a joint report
24   setting forth their respective proposals for a protective order
25   governing the software and documents ordered produced pursuant to the
26   Court’s November 24, 2015 order granting defendant’s motion to compel
27   discovery (docket #87.).      This joint report is being submitted
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 1   because the parties, after exchanging proposals and conferring, were

 2   unable to reach a stipulated protective order.

 3        GOVERNMENT’S PROPOSAL

 4        The government’s proposed protective order is attached hereto as

 5   Exhibit A.   This proposal seeks to balance the Court’s finding that

 6   the software and documentation ordered to be produced are material to

 7   defendant’s right to prepare his defense with the need to protect law

 8   enforcement investigative techniques and preserve an evidentiary

 9   record of what is being produced.       There is a real and significant

10   danger that if the details of how law enforcement identifies suspects

11   are publicly disclosed that law enforcement’s efforts to prevent the

12   trafficking of child pornography, rescue children from ongoing abuse,

13   and identify past and current victims to provide support and services

14   will be hampered.     In the past, individuals involved in the

15   trafficking of child pornography have migrated away from certain file

16   sharing programs or platforms upon learning of targeted law

17   enforcement efforts.     In addition, these individuals chat and share

18   information about methods to evade law enforcement including

19   anonymization and encryption.       In other cases, such as United States
20   v. Crowe, 11-CR-1690, (D. NM), courts have imposed more stringent
21   conditions than the terms proposed by the government.           See Exhibit B,
22   Protective Order in United State v. Crowe, attached hereto.
23        One point of the parties’ disagreement concerning the protective

24   order is whether any demonstration or testing must occur within a

25   government facility using government hardware.          This requirement is

26   necessary for several reasons including the need to preserve an

27   evidentiary record of exactly what is being provided to the defense

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 1   in case the government’s compliance or the results of the defense’s

 2   testing becomes an issue.      See Brady v. Maryland, 373 U.S. 83 (1963).
 3   In addition, allowing the government to retain control limits the

 4   danger of improper disclosure of the software or its capabilities.

 5   The government routinely provides defense attorneys and experts

 6   access to child pornography at government facilities using government

 7   hardware pursuant to the protections set forth at Title 18, United

 8   States Code, Section 3509(m) which prohibits the defense from

 9   possessing such material so long as the government makes the

10   materials reasonably available.       The government’s proposal provides

11   for safeguards of the defense’s theory and tactics by prohibiting

12   disclosure of the testing to the prosecution team unless authorized

13   by the Court.

14        The government is still in the process of ascertaining which

15   materials are in its possession and control and which materials may

16   be in the legal or physical possession and control of the private

17   entity that developed the tools, Child Rescue Coalition.            This is why

18   the government’s seeks additional time, until January 8, 2016, to

19   field a defense request for testing or a demonstration.           As a result

20   of the continuing acquisition of information related to compliance

21   with the Court’s order, the government seeks leave to request

22   additions or modifications to any protective order entered by the

23   Court.

24        DEFENDANT’S PROPOSAL

25        Defendant’s proposed protective order is attached hereto as

26   Exhibit C.

27        Defendant disagrees with certain of the government’s proposed

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 1   protective order terms.

 2        First, the government’s proposed protective order appears to

 3   limit to two the number of professionals defendant may retain to

 4   examine the materials at issue.       The government’s proposed protective

 5   order states that the defense may seek leave from the Court to

 6   provide the materials to additional experts. The number of experts

 7   needed by the defense counsel to prepare the defense is for defense

 8   counsel to determine, not the government.         It is unduly wasteful of

 9   Court resources to require defense counsel to seek leave from the

10   Court to provide the materials to additional experts if counsel have

11   determined such experts are necessary to assist with the preparation

12   of the defense. Defendant’s proposed protective order would require

13   any expert retained by defense counsel to agree in writing to be

14   bound by the terms of the protective order prior to receiving any

15   materials.

16        Second, the government’s proposed protective order seeks to

17   compel the defense to conduct its examination of the materials at

18   issue at government offices with government equipment. The government

19   also seeks 72 hours of notice prior to permitting any such

20   examination to occur.     But the Court ordered the government to

21   “produce an installable copy” of both Peer Spectre and Shareaza LE

22   for testing to be conducted by the defense expert “as she described

23   at the hearing.”    (Order Re Pretrial Motions, Docket No. 87, at 25

24   (emphasis added), citing October 27, 2015, Volume I Transcript, at 44

25   (wherein defense expert states that she “would set up machines in a

26   lab environment that had different types of operating systems” to

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 1   “determine if [the government software is] identifying files that

 2   were specifically not shared . . . .”         )).   It is clear that the

 3   Court ordered the government to produce the materials at issue to the

 4   defense so that the defense could test them under conditions

 5   established by the defense expert.          The government’s proposed

 6   protective order is inconsistent with the Court’s Order and seeks to

 7   re-litigate the motion to compel.

 8        Third, the government seeks to have all papers filed with the

 9   Court that disclose the materials sought to be protected, or which

10   contain information derived from such materials, under seal.            The

11   defense’s position is that this proposal is too broad.           The defense’s

12   proposal is that if a party intends to file exhibits which are copies

13   of the materials sought to be protected, or which are items

14   containing such materials, the party must file an application with

15   the Court to have the Court determine the appropriateness of an under

16   seal filing.    Factual analyses, legal briefing, or expert

17   declarations or reports regarding the materials sought to be

18   protected need not be filed under seal.         These analyses, briefing,

19   and declarations or reports will likely be discussed at public

20   hearings and at a public jury trial.         The defense’s proposed

21   protective order seeks to prevent circulation of the software itself

22   and related documentation to persons who are not affiliated with or

23   working on this case.     The discussion of these materials with the

24   Court, however, should be public.

25        Lastly, the defense’s proposed protective order establishes a

26   deadline by which the government must comply with its disclosure

27   obligations pursuant to the Court’s Order Re Pretrial Motions.             The

28   defense proposes a deadline of December 18, 2015.          This date is

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 1   approximately 24 days from the filing of the Court’s Order Re

 2   Pretrial Motions.

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 4
                                          Respectfully submitted,
 5   Dated: 12/8/15
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 6                                        United States Attorney

 7                                        DENNISE D. WILLETT
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 9
                                                /s/ Anne C. Gannon
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12                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
13

14

15   Dated: 12/8/15                          _/s/ with permission via email__
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16                                        ANDREA JACOBS
                                          Deputy Federal Public Defenders
17
                                          Attorneys for Defendant
18                                        TODD CHRISTIAN HARTMAN

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